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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

TRUSTEES of the IRON WORKERS                    )
TRI-STATE WELFARE PLAN                          )
                                                )
                           Plaintiffs,          )      Case No. 18 cv 6557
                                                )      Judge Kocoras
       v.                                       )
                                                )
BUMPY'S STEEL ERECTION LLC                      )
                                                )
                           Defendant.           )

                                   NOTICE OF MOTION

To:    Ashanti Mitchell                  Warren Moody
       Bumpy's Steel Erection LLC        River City Construction, LLC
       327 Missouri Ave.- Suite 520      6640 American Settler Drive
       East St. Louis, IL 62201          Ashland, MO 65010

       PLEASE TAKE NOTICE that on Thursday, August 1, 2019 I shall appear
before the Honorable Judge Kocoras at approximately 9:30 a.m. in Courtroom 2325 at
the Everett McKinley Dirksen Building Located at 219 South Dearborn Street, Chicago,
Illinois, where I shall then present my Motion for Turn Over.

                           Trustees of the Iron Workers' Tri-state
                           Welfare Plan et al.

                           s/Daniel P. McAnally

                                   Certificate of Service
       I, Daniel P. McAnally, plaintiffs' attorney hereby certify that I served the above
and foregoing Motion for Turn Over via U.S. first class mail to the person/s to who said
Notice is directed on July 18, 2019, s/Daniel P. McAnally.

Daniel P. McAnally
McGann, Ketterman & Rioux
111 E. Wacker Drive - Suite 2600
Chicago, IL 60601
(312) 251-9700
